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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS

PHILIPS NORTH AMERICA LLC,
     Plaintiff,

      v.                                        Civil Action No. 1:19‐cv‐11586‐IT

FITBIT, INC.,
      Defendant.



                                ORDER OF RECUSAL
                                  January 27, 2021
TALWANI, D.J.

      Pursuant to 28 U.S.C. § 455(b)(4), I recuse myself from participation in this matter

and direct the clerk forthwith to reassign the case randomly to another District Judge.

      IT IS SO ORDERED.

                                                /s/ Indira Talwani
                                                UNITED STATES DISTRICT JUDGE
